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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



Vernon Robinson,

               Plaintiff,

v.
                                                            Case No. 1:21-cv-2598
Portfolio Recovery Associates, Inc.

               Defendant.


      DEFENDANT PORTFOLIO RECOVERY ASSOCIATES, INC’S NOTICE OF
                            REMOVAL

       Defendant Portfolio Recovery Associates, Inc. (“PRA”) hereby files its Notice of Removal

of the above-captioned case to this Court and, and in support of removal, respectfully states as

follows:

       1.      PRA is named as a defendant in Case No. 21S00476, filed in the Small Claims

Court, City and County of Denver, Colorado (the “State Court”), styled Vernon Robinson v.

Portfolio Recovery Associates, Inc. (the “State Court Action”).

       2.      Plaintiff, proceeding pro se, filed his Complaint in the State Court Action on or

about August 17, 2021, and PRA received a copy of that Complaint September 2, 2021.

       3.      In his original Complaint in the State Court Action, Plaintiff states that PRA

“violated FPCA [sic] Section 809b, failure to validate debt, i.e. ‘balance forward.’” The Complaint

contains no other allegations. While it is not entirely clear, based on the lone allegation in the

Complaint, Plaintiff appears to be attempting to assert a claim under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692(g) (“FDCPA”).
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        4.     Any civil action is removable if the plaintiff could have originally brought the

action in federal court. See 28 U.S.C. § 1441(a).

        5.     Under 28 U.S.C. § 1331, this Court has original federal question jurisdiction over

Plaintiff’s claims based on what appears to be an alleged violation of the FDCPA.

        6.     Accordingly, pursuant to 28 U.S.C. § 1441(a), PRA has the right to remove the

State Court Action to this Court, without regard to the citizenship or residency of the parties or the

amount in controversy.

        7.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446(b) because

the U.S. District Court for the District of Colorado is the federal judicial district embracing the

City and County of Denver, Colorado where the State Court Action was originally filed.

        8.     By this Notice of Removal, PRA does not waive any defenses, jurisdictional or

otherwise, which it may possess. PRA also does not concede that Plaintiff has stated a claim

against it.

        9.     Contemporaneous with the filing of this Notice of Removal in this Court, PRA has

filed and served its Notice of Filing of Notice of Removal with the State Court.

        10.    Pursuant to D.C.COLO.LCivR 81.1(b), PRA states that the docket sheet and all

other documents previously filed in the State Court Action have been filed herewith. There are no

motions pending in the State Court Action.

        11.    In addition, the State Court Action is set for trial on September 27, 2021 at 1:00

p.m. in. Undersigned counsel represents that she has filed the Notice of Removal with the State

Court today notifying it that this matter has been removed.




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       WHEREFORE, in accordance with the authorities set forth above, PRA hereby removes

this action from the City and County Small Claims Court of Denver, Colorado, to the United States

District Court for the District of Colorado.




 Dated: September 24, 2021                         SPENCER FANE LLP

                                                   BY: s/ Jamie N. Cotter
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                                                          1700 Lincoln Street, Suite 2000
                                                          Denver, Colorado 80203
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                               CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above pleading was served on September 24, 2021, by
U.S. Mail, First Class, to:

Vernon Robinson, pro se
2806 Speer Blvd
Denver, CO 80211
                                                 s/ Jacob F. Hollars
                                                 Jacob F. Hollars




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